       Case 4:24-cv-00181-WMR            Document 54          Filed 12/05/24    Page 1 of 5



                       IN THE UNITED STATE DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

Melanie Hogan Sluder and                              )
Ricky Shawn Curtis, Individually                      )
and as Independent Administrators                     )
of the Estate of Alexis Marie Sluder,                 )
Deceased,                                             )
                                                      )
       Plaintiffs,                                    )        Case No. 4:24-cv-00181
                                                      )
v.                                                    )
                                                      )
Rebecka Phillips, Maveis Brooks,                      )
Russell Ballard, David McKinney,                      )
Monica Headrick, Sharon Ellis,                        )
Gilmer County (a municipal corporation),              )
                                                      )
       Defendants.                                    )

CERTIFICATE OF SERVICE OF PLAINTIFF’S FIRST SET OF INTERROGATORIES
          AND REQUESTS FOR PRODUCTION TO DEFENDANTS

TO:    See attached “Service List.”

       PLEASE TAKE NOTICE that, on December 5, 2024, I have caused to be served a copy

of the following discovery requests directed to Defendants:

           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               Ballard
           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               Brooks
           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               Ellis
           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               Gilmer County
           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               Headrick
           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               McKinney; and
           •   Plaintiff’s First Set of Interrogatories and Requests for Production to Defendant
               Phillips
      Case 4:24-cv-00181-WMR            Document 54        Filed 12/05/24      Page 2 of 5




       Copies of the aforementioned have been served by electronic mail on all attorneys of record.

This 5th day of December, 2024.

                                                            Respectfully submitted,

                                                            ROMANUCCI & BLANDIN, LLC

                                                            /s/Sam Harton
                                                            ______________________________
                                                            Attorney for Plaintiff

Sam Harton (pro hac vice)
Bhavani Raveendran (pro hac vice)
ROMANUCCI & BLANDIN, LLC
321 N. Clark St. Chicago, IL 60654
Tel: (312) 458-1000
Fax: (312) 458-1004
Email: braveendran@rblaw.net
Email: sharton@rblaw.net

Harold Boone, Jr.
THE BOONE FIRM, P.C.
100 Hartsfield Center Parkway
Suite 100
Atlanta, GA 30354
(470) 765-6899 (phone)
(470) 745-6047 (fax)
hboonejr@boonefirm.com

Attorneys for Plaintiff Melanie Sluder and
Ricky Shawn Curtis, Individually and as
Independent Administrators of the Estate
of Alexis Marie Sluder, Deceased.
       Case 4:24-cv-00181-WMR            Document 54        Filed 12/05/24      Page 3 of 5



                                CERTIFICATE OF SERVICE

       I, Sam Harton, certify under penalties of perjury as provided by N.D. Ga. LR 5.4 that I served

a copy of the above-mentioned discovery requests to all attorneys of record, via email on December

5, 2024.

                                                             ROMANUCCI & BLANDIN, LLC


                                                             /s/ Sam Harton
                                                             ______________________________
                                                             Attorney for Plaintiff
      Case 4:24-cv-00181-WMR         Document 54      Filed 12/05/24   Page 4 of 5



                                     SERVICE LIST


Attorneys for Defendants, Sharon Ellis and Gilmer Couty
Ryan L. Ray
Ronald R. Womack
WOMACK, RODHAM & RAY, P.C.
P.O. Box 549
109 East Patton Street
LaFayette, Georgia 30728
Tel: (706) 638-2234
Fax: (706) 638-3173
rray@wrrlawfirm.com
rwomack@wrrlawfirm.com

Attorney for Defendant, David McKinney
Garrett R. Greiner
GANNAM GNANN & STEINMETZ, LLC
Post Office Box 10085
Savannah, Georgia 31412
(912) 232-1192
ggreiner@ggsattorneys.com

Attorney for Defendant, Rebecka Phillips
Charles J. Cole
MCRAE BERTSCHI & COLE LLC
1872 Independence Square, Suite D
Dunwoody, Georgia 30338
678.999.1105
cjc@mcraebertschi.com

Attorney for Defendant, Monica Headrick
Timothy J. Buckley III
William Driggers
BUCKLEY CHRISTOPHER & HENSEL, P.C.
2970 Clairmont Road, NE
Attorney for Defendant Headrick
Suite 650
Atlanta, Georgia 30329
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com
wdriggers@bchlawpc.com
      Case 4:24-cv-00181-WMR         Document 54   Filed 12/05/24   Page 5 of 5




Attorney for Defendant, Russell Ballard
Annarita L. McGovern
ANNARITA MCGOVERN LAW, LLC
125 Stonemist Court
Roswell, Georgia 30076
(678) 488-6681
annarita@amcgovernlaw.com


Attorney for Defendant, Maveis Brooks
Noah Green
HENEFELD & GREEN, P.C.
3017 Bolling Way NE, Suite 129
Atlanta, Georgia 30305
(404) 841-1275
ngreen@henefeldgreen.com
